                       CRIMINAL CAUSE FOR ARRAIGNMENT
BEFORE: Magistrate Judge Sanket J. Bulsara DATE: 7/26/2021
TIME: 12:00 P.M DOCKET# 21-CR--371(2)(BMC)

DEFENDANT:THOMAS BARRACK
 X present    not present                              cust.          X bail

DEFENSE COUNSEL:PHARA A. GUBERMAN AND              MATTHEW HERRINGTON
 X present   not present ___ CJA __X_ Retained
                                            ____ X d. Federal Defenders

A.U.S.A.: NATHAN REILLY                  CLERK: E. MANSON
FTR:      ________________IN COURTROOM: 13D South
INT:NONE COURTREPORTER: ANTHONY FRISCOLONE

   X               CASE CALLED

DEFT.       X                  SWORN
            X              ARRAIGNED
                  INFORMED OF RIGHTS
                 WAIVE TRIAL BEFORE DISTRICT COURT
                            INDICTMENT FILED ____  SUPERCEDING INDICTMENT FILED
                            INFORMATION FILED      SUPERCEDING INFORMATION FILED
         WAIVER OF INDICTMENT EXECUTED FOR DEFT.
         DEFT FAILED TO APPEAR, BENCH WARRANT ISSUED.

  X      DEFT ENTERS PLEA OF NOT GUILTY TO COUNT(S) ONE (1) - SEVEN(7)           OF THE
         _X__ INDICTMENT _____ SUPERSEDING INDICTMENT;
        _____ INFORMATION;     ____ SUPCD. INFO.

         COURT FINDS A FACTUAL BASIS FOR THE PLEA.
   X       STATUS CONFERENCE: Will beheld beforeJudge Cogan on 9/2/2021 at 10:00 A.M.
  X ___________
       BAIL CONT'D FOR DEFT.
       DEFT CONT'D IN CUSTODY.
       CASE ADJ'D TO                            FOR                                       x

         SPEEDY TRIAL INFO FOR DEFT          STILL IN EFFECT
         CODE TYPE          START            STOP
                   ORDER / WAIVER EXECUTED &     ENT'D ON RECORD.

            FILED. Transcript   Ordered   for    Judge Cogan

OTHER: Defendant released on bond see attachment.
